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                                                                      FILED IN OPEN COURT
                                                                            U.$.D.C. Atlanta
                                                                                    -




                              VERDICT FORM:                                 AUG 26 2022
                                                                       XEV              IME-,   ,‘.

                                                                      By:
                                                                                        ~         ~rk

      Do you find from a preponderance of the evidence;

      1. That Jerry Blasingame was subjected to excessive or unreasonable force

         by Defendant Officer Jon Grubbs?

                   AnswerYesorNo                 /

       Ifyour answer is “Yes, go to the next question. Ifyour answer is “No,”
                              “


this ends your deliberations, and your foreperson should sign and date the last
page of this verdictform.


      Do you find from a preponderance of the evidence;

      2. That Jerry Blasingame’s injuries wouldn’t have happened without

         Defendant Officer Grubbs’ conduct; and that Jerry Blasingame’s injuries

         were a reasonably foreseeable consequence of Defendant Officer

         Grubbs’ conduct?

                   Answer Yes or No

      3. That Defendant Officer Grubbs’ actions, in attempting to arrest Jerry

         Blasingame, were “under color” of law?

                   Answer Yes or No         ______________




      Ifyour answer is “Yes” to questions   2. and        3
                                                         then you must decide
                                                              ,


     the issue ofdamages against Defendant Officer Jon Grubbs.
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      4.That Plaintiff should be awarded compensatory damages against

Defendant Officer Grubbs?

                   Answer Yes or No         ______________




      If your answer is “Yes,” in what amount?        $        20 MLII oYc_
      6. That punitive damages should be assessed against Defendant

Officer Jon Grubbs?

                   Answer Yes or No         _____________




      If your answer is “Yes,” in what amount?        $        20   ~   ~1j~~-\.
      Do you find from a preponderance of the evidence;

        7. That Plaintiff has proved that an official policy or custom of the City

           of Atlanta was the moving force behind Jerry Blasingame’s injuries?

                   AnswerYesorNo                 I        ‘~



      Ifyour answer is “Yes” to this question, then you must decide the issue of
damages against the Ciiy of Atlanta. If your answer is “No,” this ends your
deliberations, and your foreperson should sign and date the last page of this
verdictform. _______




        8. That Plaintiff should be awarded compensatory damages against Thc

            City of Atlanta?

                   Answer Yes or No         ______________




      If your answer is “Yes,” in what amount?        $ (of) t~Ab\~
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DATE:   ku~. 2 L ~ ~2JN27~
